      Case 4:22-mc-01053 Document 1 Filed on 06/20/22 in TXSD Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
                 Plaintiff,                     §
                                                §     MISCELLANEOUS CASE NO. ________
V.                                              §
                                                §
BORON CAPITAL, LLC, BC HOLDING                  §     (ORIGINAL CASE PENDING IN THE U.S.
2017, LLC, UNITED BNB FUND 2018,                §     DISTRICT COURT, NORTHERN DISTRICT
LLC AND BLAKE ROBERT                            §     OF TEXAS, LUBBOCK DIVISION; CASE
TEMPLETON,                                      §     NO. 5:22-CV-114-C)

                  Defendants.


                                   RECEIVER’S §754 NOTICE

       Albert C. Black, III, Court-appointed Receiver for Blake Robert Templeton, Boron

Capital, LLC, BC Holding 2017, LLC, and United BNB Fund 2018, LLC in a case styled

Securities and Exchange Commission v. Blake Robert Templeton, Boron Capital, LLC, BC

Holding 2017, LLC, and United BNB Fund 2018, LLC; Cause No. 5:22-cv-114-C; in the United

States District Court for the Northern District of Texas, Lubbock Division ("Receiver"), files this

Notice Pursuant to U.S.C. 28, § 754.

       1.      U.S.C. 28, § 754 states, in part:

               A receiver appointed in any civil action or proceeding involving
               property, real, personal or mixed, situated in different districts
               shall, upon giving bond as required by the court, be vested with
               complete jurisdiction and control of all such property with the right
               to take possession thereof.

               He shall have capacity to sue in any district without ancillary
               appointment, and may be sued with respect thereto as provided in
               section 959 of this title.

               Such receiver shall, within ten days after the entry of his order of
               appointment, file copies of the complaint and such order of
               appointment in the district court for each district in which property
               is located. The failure to file such copies in any district shall divest




RECEIVER’S §754 NOTICE– Page 1
       Case 4:22-mc-01053 Document 1 Filed on 06/20/22 in TXSD Page 2 of 2



                    the receiver of jurisdiction and control over all such property in that
                    district.

        2.          Therefore, contemporaneously herewith, the Receiver has submitted (1) the

Complaint (Ex. A); (2) the Order Unsealing the case (Ex. B); and (3) the Order Appointing

Receiver (Ex. C), and requests this Court to assign it a miscellaneous case number and file it

amongst the papers of this Court.

        DATED this 20th day of June, 2022.


                                                   Respectfully submitted,

                                                   MUNSCH HARDT KOPF & HARR, P.C.


                                                   By:     /s/ Dennis L. Roossien, Esq.
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                                                   ATTORNEYS FOR ALBERT C. BLACK, III,
                                                   RECEIVER




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